           Case 24-20432                  Doc 34          Filed 09/25/24              Entered 09/26/24 00:19:55                         Page 1 of 3
                                                               United States Bankruptcy Court
                                                                   District of Connecticut
In re:                                                                                                                  Case No. 24-20432-jjt
Stephanie Sophie Sklarsky                                                                                               Chapter 7
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0205-2                                                   User: admin                                                                 Page 1 of 2
Date Rcvd: Sep 23, 2024                                                Form ID: 160                                                               Total Noticed: 2
The following symbols are used throughout this certificate:
Symbol          Definition
+                 Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                  regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Sep 25, 2024:
Recip ID                 Recipient Name and Address
db                     + Stephanie Sophie Sklarsky, 966 Silas Deane Highway, Apartment B19, Wethersfield, CT 06109-4208
cr                     + Patrick Lombardi, 84 Ridge Road, West Barnstable, MA 02668-1531

TOTAL: 2

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID          Bypass Reason Name and Address
cr                              American Eagle Financial Credit Union

TOTAL: 1 Undeliverable, 0 Duplicate, 0 Out of date forwarding address


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Sep 25, 2024                                            Signature:            /s/Gustava Winters




                                   CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on September 23, 2024 at the address(es) listed
below:
Name                               Email Address
Bonnie C. Mangan
                                   on behalf of Trustee Bonnie C. Mangan Trusteemangan@yahoo.com
                                   ct19@ecfcbis.com;becky.avery@manganlaw.com;adam.lyford@manganlaw.com;julissa.bustamante@manganlaw.com

Bonnie C. Mangan
                                   Trusteemangan@yahoo.com
                                   ct19@ecfcbis.com;becky.avery@manganlaw.com;adam.lyford@manganlaw.com;julissa.bustamante@manganlaw.com

Christopher H. Thogmartin
                                   on behalf of Debtor Stephanie Sophie Sklarsky chris@thoglaw.com r42275@notify.bestcase.com

Marcus E. Pratt
           Case 24-20432       Doc 34         Filed 09/25/24             Entered 09/26/24 00:19:55                     Page 2 of 3
District/off: 0205-2                                       User: admin                                                        Page 2 of 2
Date Rcvd: Sep 23, 2024                                    Form ID: 160                                                      Total Noticed: 2
                          on behalf of Creditor American Eagle Financial Credit Union bankruptcy@kordeassociates.com

U. S. Trustee
                          USTPRegion02.NH.ECF@USDOJ.GOV


TOTAL: 5
         Case 24-20432               Doc 34         Filed 09/25/24             Entered 09/26/24 00:19:55                Page 3 of 3

                           United States Bankruptcy Court
                                       District of Connecticut
                                                                                                   Filed and Entered
                                                                                                       On Docket
                                                                                                  September 23, 2024


In re:
         Stephanie Sophie Sklarsky                                                            Case Number: 24−20432
         Debtor*                                                                              Chapter: 7




                         DEFICIENCY NOTICE REGARDING MOTIONS/APPLICATIONS

     Patrick Lombardi has filed a/an Motion for Relief from Stay, ECF No. 31, not in compliance with the Federal
Rules of Bankruptcy Procedure and this Court's Local Rules of Bankruptcy Procedure, for the reason(s) indicated
below:

          D. Conn. Bankr. L.R. 9014−1:

          • Contested Matter Procedure should be followed when filing the above stated motion.

     Failure to cure this deficiency within five (5) business days from the date of this notice may result in no action
taken on your motion/application.

Official Bankruptcy Forms are available on our website www.ctb.uscourts.gov



Dated: September 23, 2024


                                                                                                Pietro Cicolini
                                                                                                Clerk of Court


United States Bankruptcy Court                                                        Tel. (860) 240−3675
District of Connecticut                                                               VCIS* (866) 222−8029
450 Main Street, 7th Floor                                                            * Voice Case Information System
Hartford, CT 06103                                                                    http://www.ctb.uscourts.gov
                                                                                      Form 160 − kpb
*For the purposes of this notice, "Debtor" means "Debtors" where applicable.
